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     Co-Counsel to the Debtors and Debtors in Possession

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                              )
     In re:                                                                   )    Chapter 11
                                                                              )
     LE TOTE, INC., et al.,1                                                  )    Case No. 20-33332 (KLP)
                                                                              )
                                  Debtors.                                    )    (Jointly Administered)
                                                                              )

                          CERTIFICATION OF NO OBJECTION
             REGARDING THE SECOND INTERIM FEE APPLICATION OF NFLUENCE
                PARTNERS AS INVESTMENT BANKER FOR THE DEBTORS FOR
               COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
             REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD FROM
                  NOVEMBER 1, 2020 TO AND INCLUDING JANUARY 31, 2021

               The undersigned hereby certifies that, as of the date hereof, he is not aware of any answer,

     objection, or other responsive pleading with respect to the Second Interim Fee Application of

     Nfluence Partners as Investment Banker for the Debtors for Compensation for Professional



 1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are set forth in the Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of Chapter
        11 Cases and (II) Granting Related Relief filed on August 2, 2020 [Docket No. 3]. The location of the Debtors’
        service address is 250 Vesey Street, 22nd Floor, New York, New York 10281.
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 Services Rendered and Reimbursement of Expenses Incurred for the Period from November 1,

 2020 To and Including January 31, 2021 [Docket No. 890] (the “Application”). Nfluence Partners

 (the “Applicant”) filed the Application with the United States Bankruptcy Court for the Eastern

 District of Virginia (the “Court”) on February 3, 2021 and caused the Application to be served on

 all necessary parties on February 3, 2021. Pursuant to the procedures set forth in the Order

 (I) Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

 Retained Professionals and (II) Granting Related Relief, dated June 30, 2020 [Docket No. 425]

 (the “Interim Compensation Order”), objections to the Application were to be filed and served no

 later than February 24, 2021 at 4:00 p.m. (prevailing Eastern Time).

        The undersigned further certifies that she has caused a review of the Court’s docket in this

 case and no answer, objection, or other responsive pleading to the Application appears thereon.

 Consequently, the Debtors are authorized to submit an order granting the relief requested in the

 Application to the Court for entry without further hearing or notice.


                           [Remainder of page left intentionally blank]




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Richmond, Virginia
Dated: March 2, 2021

/s/ Jeremy S. Williams
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